Case 18-34808-SLM                Doc 937        Filed 04/14/20 Entered 04/14/20 16:48:46                             Desc Main
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 LOWENSTEIN SANDLER LLP
 Kenneth A. Rosen, Esq.
 Joseph J. DiPasquale, Esq.
 Eric S. Chafetz, Esq.                                                                  Order Filed on April 14, 2020
                                                                                        by Clerk,
 Michael Papandrea, Esq.                                                                U.S. Bankruptcy Court
 John P. Schneider, Esq.                                                                District of New Jersey
 One Lowenstein Drive
 Roseland, New Jersey 07068
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 Counsel to the Administrative and
 Priority Claims Agent

                                  UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NEW JERSEY


 In re:                                                           Chapter 11

 FRANK THEATRES BAYONNE/SOUTH                                     Case No. 18-34808 (SLM)
 COVE, LLC, et al.,1, 2

                              Debtors.                            Jointly Administered


     STIPULATION AND CONSENT ORDER RESOLVING CLAIM NOS. 188, 197, 198,
                   AND 229 FILED BY IMAX CORPORATION

          The relief set forth on the following pages, numbered two (2) through five (5), is hereby

 ORDERED.
DATED: April 14, 2020


 1  Prior to the Effective Date (as defined herein) of the Modified Plan (as defined herein), the Debtors in these Chapter 11 cases
 (the “Chapter 11 Cases”) and the last four digits of each Debtor’s taxpayer identification number were as follows: Frank
 Theatres Bayonne/South Cove, LLC (3162); Frank Entertainment Group, LLC (3966); Frank Management LLC (0186); Frank
 Theatres, LLC (5542); Frank All Star Theatres, LLC (0420); Frank Theatres Blacksburg LLC (2964); Frank Theatres Delray,
 LLC (7655); Frank Theatres Kingsport LLC (5083); Frank Theatres Montgomeryville, LLC (0692); Frank Theatres Parkside
 Town Commons LLC (9724); Frank Theatres Rio, LLC (1591); Frank Theatres Towne, LLC (1528); Frank Theatres York, LLC
 (7779); Frank Theatres Mt. Airy, LLC (7429); Frank Theatres Southern Pines, LLC (2508); Frank Theatres Sanford, LLC (7475);
 Frank Theatres Shallotte, LLC (7548); Revolutions at City Place LLC (6048); Revolutions of Saucon Valley LLC (1135); Frank
 Entertainment Rock Hill LLC (0753); Frank Entertainment PSL, LLC (7033); Frank Hospitality Saucon Valley LLC (8570);
 Frank Hospitality York LLC (6617); and Galleria Cinema, LLC (2529).
 2Upon the Effective Date of the Modified Plan, the presently operating Reorganized Debtors are as follows: Frank Entertainment
 Group, LLC; Frank Management, LLC; Frank Theatres York, LLC; Frank Hospitality York, LLC; Frank Theatres Delray, LLC;
 Frank Theatres Parkside Town Commons, LLC; Frank Blacksburg, LLC; Frank Theatres Southern Pines, LLC; Frank Theatres,
 LLC; and Frank Management, LLC.
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 Debtor: Frank Theatres Bayonne/South Cove, LLC, et al.
 Case No.: 18-34808 (SLM)
 Caption: Stipulation and Consent Order Resolving Claim Nos. 188, 197, 198, and 229 Filed by IMAX Corporation

         THIS MATTER comes before the United States Bankruptcy Court for the District of

 New Jersey (the “Court”) upon the objection of Moss Adams LLP (the “Administrative and

 Priority Claims Agent”) to proof of claim no. 229 filed by IMAX Corporation (“IMAX,” and

 together with the Administrative and Priority Claims Agent, the “Parties”); and the Court having

 jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and 1334; and venue being

 proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409; and consideration of this matter

 being a core proceeding pursuant to 28 U.S.C. § 157(b); and it appearing that proper and

 adequate notice of the dispute has been given and that no other or further notice is necessary; and

 upon the record herein and the agreement of the Administrative and Priority Claims Agent and

 IMAX, the Court having determined that the relief provided for herein is in the best interests of

 the Debtors, their estates, and creditors; and after due deliberation and good and sufficient cause

 appearing therefor;3

         IT IS HEREBY ORDERED THAT:

         1.       Proofs of claim Nos. 197, 198, and 229 are deemed to be expunged and

 extinguished in their entirety, and proof of claim no. 188 filed by IMAX is hereby fixed and

 allowed as a General Unsecured Claim against the estate of Frank Theatres, LLC in the amount

 of $623,120.78 (the “Allowed Claim”).

         2.       IMAX agrees that it will not file or assert any additional claims (as this term is

 defined in Bankruptcy Code § 105(5)) against any of the Debtors in these Chapter 11 Cases.

 Excluding the Allowed Claim, any other claim (as this term is defined in Bankruptcy Code §



 3
   Unless otherwise defined, all capitalized terms shall have the meaning ascribed to them in the Modified First
 Amended Plan of Reorganization of Frank Theatres Bayonne/South Cove, LLC, et al., Pursuant to Chapter 11 of the
 Bankruptcy Code as confirmed by an Order of the Court entered on October 29, 2019 (the “Modified Plan”)
 [Docket No. 783].
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 105(5)) filed or asserted by IMAX against any of the Debtors in these Chapter 11 Cases is

 hereby automatically expunged without any further action by the Debtors.

         3.      The Administrative and Priority Claims Agent, the Debtors, the Debtors’ claims

 and noticing agent, and the Clerk of this Court are each authorized to take any and all actions

 that are necessary or appropriate to give effect to this Order, including expunging proofs of claim

 Nos. 197, 198, and 229 and increasing the allowed amount of proof of claim no. 188 as set forth

 in paragraph 1 of this Order.

         4.      The terms set forth in this Order are the entire agreement between the Parties and

 may only be modified in a writing signed by the Parties.

         5.      THE PARTIES EXPRESSLY WAIVE ANY RIGHT TO A TRIAL BY JURY

 OF ANY DISPUTE ARISING UNDER, OR RELATING TO, THE SETTLEMENT SET

 FORTH IN THIS ORDER.

         6.      Each of the Parties hereto consents to the jurisdiction of the Court to adjudicate

 any and all disputes arising under or relating to this Order.

         7.      The terms of this Order shall be governed by, and construed and interpreted with,

 the laws of the State of New Jersey without regard to any conflict of law provisions.

         8.      This Order shall be binding upon the Parties hereto and any of their successors,

 representatives, and/or assigns.

         9.      This Order may be executed in counterparts and all executed counterparts taken

 together shall constitute one document.

         10.     This Order has been drafted through a joint effort of the Parties and, therefore,

 shall not be construed in favor of or against any of the Parties. The terms of this Order shall be

 deemed to have been jointly negotiated and drafted by the Parties.
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         11.       The Liquidating Trustee has reviewed the terms and form of this Order and does

 not object to the entry thereof.

         12.       Notwithstanding the applicability of any of the Federal Rules of Bankruptcy

 Procedure, the terms and conditions of this Order shall be immediately effective and enforceable

 upon its entry.

         13.       The Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation of this Order.




                    [Remainder of page intentionally left blank – signatures follow]
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 Dated: April 3, 2020

 STIPULATED AND AGREED:

 LOWENSTEIN SANDLER LLP                              KELLEY DRYE & WARREN LLP


 By: /s/ Eric Chafetz                                By: /s/ Kayci Hines
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 Facsimile: (973) 597-2400
 E-mail: echafetz@lowenstein.com                     Counsel to IMAX Corporation

 Counsel for the Debtors and
 Debtors-in-Possession


 AS TO THE TERMS AND FORM
 OF ORDER:

 PACHULSKI STANG ZIEHL                               RIKER, DANZIG, SCHERER, HYLAND
 & JONES LLP                                         & PERRETTI LLP


 By: /s/ Beth Levine                                 By: /s/ Tara Schellhorn
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